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DMA (3/2005)

United States District Court
for the District of Massachusetts
Petition and Affidavit for Warrant or Summons for Offender Under Supervision

Name of Offender: Bryan Fitzpatrick Case Number: 11-CR-10018

Name of Sentencing Judicial Officer: Honorable Rya W. Zobel, Senior U.S. District Judge

Date of Original Sentence: 09/13/2011

Original Offense: Unarmed Bank Robbery, in violation of Title 18,
U.S.C. § 2113(a)

Original Sentence: 84 months of custody followed by 36 months of
supervised release

1*' Revocation Sentence on 4/10/18: 4 months of custody followed by 24 months of

supervised release

24 Revocation Sentence on 8/28/19: 60 days BOP, credit for time served followed by 24
months supervised release with completion of
inpatient substance abuse treatment and sober living
for up to 3 months

Type of Supervision: Supervised Release Date Supervision Commenced: 10/5/2018
Asst. U.S. Attorney: Christine J. Wichers Defense Attorney: Jamiel Allen
PETITIONING THE COURT
O To issue a warrant
Xx To issue a summons

The probation officer believes that the offender has violated the following condition(s) of supervision:
Violation Number Nature of Noncompliance
Violation of Standard Condition:
1. The defendant shall refrain from excessive use of alcohol and shall not purchase,
possess, use, distribute, or administer any controlled substance or any paraphernalia
related to any controlled substances, except as prescribed by a physician.
On 4/29/19, Cole’s Place (a residential drug treatment center) informed the U.S:

Probation Office that they suspected Bryan Fitzpatrick of illegal drug use. A urine test
administered by Cole’s Place that date was positive for the presence of cocaine and
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-2- Petition and Affidavit for Warrant or Summons
For Offender Under Supervision

marijuana. On 5/1/19, Mr. Fitzpatrick admitted to PO Foster that he relapsed and had
used crack cocaine and marijuana on several occasions.

Violation of Special Conditions:

2. You shall reside in a mental health and substance abuse treatment center as
directed by the probation office for up to 6 months; Upon release you shall reside in
a sober living facility and abide by all the rules and regulations as directed.

3. You shall participate in mental health treatment as directed by the Probation
Office.

4. You shall participate in a program for substance abuse counseling as directed by
the Probation Office, which program may include testing, not to exceed 104 drug
tests per year.

Between 4/29/19 and 5/1/19, multiple communications from Cole’s Place revealed that
due to Mr. Fitzpatrick’s drug use, he would discharged from Cole’s Place and admitted to
Hope Center, a higher level of care. Mr. Fitzpatrick was informed that the intent was to
stabilize him, assess his commitment to sobriety and to formulate a plan for his release.
Due to the length of his stay at Cole’s Place (10/18-5/19), program rule violations
including pressuring other residents for money, and not engaging with outside sober
supports, Mr. Fitzpatrick was not going to be allowed to return to Cole’s Place. PO Foster
informed Mr. Fitzpatrick that if he remained sober, obeyed program rules at the Hope
Center and continued to communicate with probation, every effort would be made to
address his relapse from a therapeutic standpoint. Mr. Fitzpatrick failed to complete the
intake and left the program against staff advice on 5/1/19.

The Probation Office intended to request a warrant, however, Mr. Fitzpatrick contacted
PO Foster on the evening of 5/1/19. He explained that his anxiety was elevated when he
fled the Hope Center, but he is aware that he made a poor choice in doing so. After leaving
the program, Mr. Fitzpatrick boarded a bus to Boston, but took a return bus to Springfield
almost immediately. It is his intention to stabilize at a local hospital and work with
Behavioral Health Network (BHN) to see what programming remains available to him.
The Probation Office is requesting a summons so that Mr. Fitzpatrick’s non-compliance
can be addressed with the Court.

U.S. Probation Officer Recommendation:

The term of supervision should be:

x
O
O

Revoked
Extended for year(s), for a total term of years.
The conditions of supervision should be modified as follows:

I declare under penalty of perjury that the foregoing is true and correct.
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Reviewed/Approved Respectfully submitted,

by:

/s/Michelle Roberts /s/ Kelly Foster

Michelle Roberts Kelly Foster

Supervising U.S. Senior U.S. Probation Officer
Probation Officer Date: 05/02/2019

THE COURT ORDERS

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No Action
The Issuance of a Warrant
The Issuance of a Summons @

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Other | a) Z| WV

orable Rya W. Zobel,
Senior U.S. District Judge

Date Moe, be, 22 (SG
